       Case 2:00-cr-00126-ID-CSC Document 603 Filed 09/28/06 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      CR. NO. 2:00cr126-ID
                                                 )               (WO)
GONZALO MURILLO, JR.                             )

                                         ORDER

       Before the court is the recommendation of the Magistrate Judge (Doc. No. 601),

entered herein on September 12, 2006. Also before the court is a pleading titled “cross-

claims and traverse” (Doc. No. 602), filed by Gonzalo Murillo, Jr. (“Murillo”), on September

18, which the court construes as an objection to the recommendation. Upon an independent

review of the file in this case and upon CONSIDERATION of the recommendation of the

Magistrate Judge, it is ORDERED as follows:

       (1)    Murillo’s objection be and the same is hereby OVERRULED;

       (2)    the Magistrate Judge’s recommendation be and the same is hereby ADOPTED,

              APPROVED and AFFIRMED; and

       (3)    the motion for return of seized property filed by Murillo be and the same is

              hereby TRANSFERRED to the United States District Court for the Central

              District of California.

       DONE this 28 th day of September, 2006.

                                    /s/ Ira DeMent
                                    SENIOR UNITED STATES DISTRICT JUDGE
